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                           UNITED STATES DISTRICT COURT
                           EASTERN DISTRICT OF MICHIGAN
                                SOUTHERN DIVISION


UNITED STATES OF AMERICA

                     Plaintiff,

vs.                                              CASE NUMBER: 99-CR-80796-01
                                                 HONORABLE ROBERT H. CLELAND

RODNEY RICE,

                Defendant.
___________________________/


                   ORDER FOR RE-SENTENCING UPON REMAND

       This matter is before the Court on remand from the United States Court of

Appeals for the Sixth Circuit for re-sentencing in light of the Supreme Court’s decision in

United States v. Booker, 125 S.Ct. 738 (2005).

       The defendant appeared on March 9, 2006 via telephone per his request for

sentencing. Defendant has requested additional time to file a supplement brief in light

of a recent case US v Okai . The government concurs. Therefore,

       IT IS FURTHER ORDERED defendant’s brief is due March 24, 2006;

government’s response is due on or before April 7, 2006. Counsel are directed to

include United States Probation Officer Joseph Herd on their service list. Re-

Sentencing will be held on April 27, 2006 at 2:00 p.m. The defendant will participate

via telephone.

                                           S/Robert H. Cleland
                                          ROBERT H. CLELAND
                                          UNITED STATES DISTRICT JUDGE
  Case 2:99-cr-80796-RHC ECF No. 336, PageID.649 Filed 03/09/06 Page 2 of 2




Dated: March 9, 2006


I hereby certify that a copy of the foregoing document was mailed to counsel of record
on this date, March 9, 2006, by electronic and/or ordinary mail.


                                                S/Lisa Wagner
                                               Case Manager and Deputy Clerk
                                               (313) 234-5522




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